    Case 4:23-cv-03516 Document 15 Filed on 10/18/23 in TXSD Page 1 of 3




      IN THE UNITED STATES DISTRICT COURT FOR THE
              SOUTHERN DISTRICT OF TEXAS,
                   HOUSTON DIVISION


LANDSCAPE CONSULTANTS                 §
OF TEXAS, INC., and                   §
METROPOLITAN                          §
LANDSCAPE                             §
MANAGEMENT, INC.,                     §
       Plaintiffs,                    §
                                      §
v                                     §     Civil Action No.: 4:23-cv-
                                      §     3516
CITY OF HOUSTON, TEXAS,               §
and MIDTOWN                           §
MANAGEMENT DISTRICT,                  §
                                      §
           Defendants.                §

 DEFENDANT CITY OF HOUSTON’S UNOPPOSED MOTION FOR
 EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND
     Defendant, City of Houston, (“City”), moves for a thirty (30) day

extension of time to answer, move, or otherwise respond to Plaintiffs’

Landscape Consultants of Texas, Inc. and Metropolitan Landscape

Management Inc.’s (“Plaintiffs”) Complaint as follows:

1. Plaintiffs filed their Complaint on September 19, 2023.

2. Plaintiffs served their Complaint and Summons on the City on

    September 22, 2023.
   Case 4:23-cv-03516 Document 15 Filed on 10/18/23 in TXSD Page 2 of 3




3. Pursuant to Federal Rule of Civil Procedure 12, the City’s Answer or

  Responsive Pleading would be due twenty-one (21) days later, on

  October 13, 2023.

4. Pursuant to Federal Rule of Civil Procedure 6, the City respectfully

  moves to extend the time to answer, move, or otherwise respond to the

  Complaint to and including November 13, 2023.

5. Counsel for the City has conferred with counsel for Plaintiffs, and

  Plaintiffs’ counsel has indicated that Plaintiffs are unopposed to the

  relief sought in this motion. See Exhibit A.

6. The extension to answer, move, or otherwise respond to the Complaint

  will not cause prejudice to any party and will result in no undue delays

  of this proceeding.

7. Accordingly, the City requests that the Court enter an order extending

  the time for the City to answer, move, or otherwise respond to the

  Complaint to and including November 13, 2023.



Dated October 18, 2023
Case 4:23-cv-03516 Document 15 Filed on 10/18/23 in TXSD Page 3 of 3




                         Respectfully submitted,

                         ARTURO G. MICHEL
                         City Attorney
                         SUZANNE R. CHAUVIN
                         Chief, General Litigation Section

                         /s/ Darah Eckert
                         DARAH ECKERT
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